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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


 UNITED STATES OF AMERICA,
 Plaintiff,

 v.                                                                  Case No. 18–CR–40047–JPG

 VINCENT L. WESTLEY,
 Defendant.

                         MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Vincent L. Westley’s Motion for Compassionate Release.

(ECF No. 37). Westley supplemented his Motion through the Federal Public Defender. (ECF

No. 44). The Government responded, (ECF No. 47); and Westley replied, (ECF No. 49). For the

reasons below, the Court DENIES Westley’s Motion for Compassionate Release.

I.     PROCEDURAL & FACTUAL HISTORY

       A. The Conviction

       In 2018, a federal grand jury in this District indicted Westley for receiving and possessing

child pornography. (Indictment 1–2, ECF No. 1). He pleaded guilty five months later, (Minute

Entry 1, ECF No. 20); and the Court sentenced him to a 60-month term of imprisonment,

(Judgment 2, ECF No. 34). He is currently incarcerated at Federal Correctional Institution (“FCI”)

Forrest City Low in Arkansas. (Def.’s Mot. for Compassionate Release at 2).

       B. The Presentence Investigation Report

       Before sentencing, the Court considered the Presentence Investigation Report (“PSR”)

prepared by the U.S. Probation Office, which provided information about the nature and

circumstances of the offense and Westley’s background. (See First Revised PSR 1, ECF No. 26).
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          According to the PSR, undercover officers with the Federal Bureau of Investigations

discovered       that    Westley     downloaded     several   “[f]iles   appearing   to   depict   child

pornography. . . using the eMule peer-to-peer program.” (Id. at 3). They then approached him at

his home, where he “consented to a search of his laptop computer which revealed 9 video files and

88 images containing child pornography.” (Id.). The contraband featured children possibly as

young as three years old engaging in various sexual acts, sometimes while tied down. (Id. at 3–4).

Along with admitting to “using the eMule peer-to-peer program to actively search for child

pornography,” Westley “also searched for child pornography on www.motherless.com and

www.shesfreaky.com” using “the search terms ‘preteen dancing’ and ‘preteen modeling.’ ” (Id.

at 4).

          C. Westley’s Motion for Compassionate Release

          In June 2020, Westley moved for a sentence modification under 18 U.S.C. § 3582(c)(1)(A),

also called compassionate release. (Def.’s Mot. for Compassionate Release at 1). He contends that

serious medical conditions—hypertension, high cholesterol, low iron, an enlarged heart, anxiety,

and depression—make him especially vulnerable to the COVID-19 virus. (Id. at 2).

          The COVID-19 virus, of course, is now a global pandemic. At FCI Forrest City Low,

48 inmates currently have COVID-19; 635 have recovered (including Westley); and none have

died. Coronavirus, Bureau of Prisons (last visited Nov. 6, 2020). 1 In brief, Westley argues that his

increased risk of experiencing serious complications if he contracts COVID-19 (again) is an

extraordinary and compelling reason warranting his release. (Def.’s Mot. for Compassionate

Release at 3).




1
    Available at https://www.bop.gov/coronavirus.


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    II.   LAW & ANALYSIS

          The Court recognizes that compassionate release is appropriate for some defendants

considering the COVID-19 pandemic. Even so, each defendant moving for compassionate release

bears the burden of showing not only that they face an increased risk of exposure to the virus, but

also that their continued incarceration is unnecessary to advance the statutory purposes of

punishment (i.e., justice, deterrence, incapacitation, and rehabilitation). Westley failed to meet that

burden.

               A. Legal Standard

          District courts generally “may not modify a term of imprisonment once it has been

imposed . . . .” 18 U.S.C. § 3582(c). That said, an exception exists for when “extraordinary and

compelling reasons warrant such a reduction . . . .” Id. § 3582(c)(1)(A)(i). Even then, however, the

sentencing judge must still “consider[] the factors set forth in section 3553(a) to the extent that

they are applicable . . . .” Id. § 3582(c)(1)(A). 2 The burden of proof rests on the defendant. See

United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016); United States v. Green, 764 F.3d 1352,

1356 (11th Cir. 2014).

          The § 3553(a) factors include:
                         (1)     The nature and circumstances of the offense and the history and
                                 characteristic of the defendant;



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    The parties dedicate most of their briefs to arguing whether the Court can determine what “other reasons” justify a
    sentence modification. In brief, Congress directed the U.S. Sentencing Commission to determine what constitutes
    an “extraordinary and compelling reason” warranting compassionate release under 18 U.S.C. § 3582(c)(1)(A). See
    28 U.S.C. § 944(t). It did so in § 1B1.13 of the U.S. Sentencing Guidelines Manual: (1) medical condition of the
    defendant; (2) age of the defendant; (3) family circumstances; and (4) other reasons. The Commission then left it
    to the Bureau of Prisons to determine what “other reasons” justify a sentence modification; but given the
    Commission’s failure to update § 1B1.13 after the compassionate-release provision was amended, Westley argues
    that the Court is now empowered to determine what “other reasons” warrant compassionate release—i.e., the
    threat posed by COVID-19 to medically compromised inmates. Naturally, the Government disagrees. With that in
    mind, the Court need not decide that issue because any sentence modification must still accord with the factors in
    18 U.S.C. § 3553(a). And as discussed later in this Memorandum Opinion and Order, the § 3553(a) factors weigh
    against a sentence modification here.


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                   (2)    The need for the sentence imposed—

                             a. To reflect the seriousness of the offense, to promote respect for
                                the law, and to provide just punishment for the offense;

                             b. To afford adequate deterrence to criminal conduct;

                             c. To protect the public from further crimes of the defendant; and

                             d. To provide the defendant with needed educational or
                                vocational training, medical care, or other correctional
                                treatment in the most effective manner;

                   (3)    The kinds of sentences available;

                   (4)    The kinds of sentence and the sentencing range established for—

                             a. The applicable category of offense committed by the applicable
                                category of defendant as set forth in the guidelines . . . or;

                             b. In the case of a violation of probation or supervised release, the
                                applicable guidelines or policy statements issued by the
                                Sentencing Commission . . . ;

                   (5)    Any pertinent policy statement—

                             a. Issued by the Sentencing Commission . . . ; and

                             b. That . . . is in effect on the date the defendant is sentenced[;]

                   (6)    The need to avoid unwarranted sentencing disparities among
                          defendants with similar records who have been found guilty of similar
                          conduct; and

                   (7)    The need to provide restitution to any victims of the offense.

18 U.S.C. § 3553(a).
       “The judge need not address every factor ‘in checklist fashion, explicitly articulating its

conclusions regarding each one.’ ” See United States v. Kappes, 782 F.3d 828, 845 (7th Cir. 2015)

(quoting United States v. Shannon, 518 F.3d 494, 496 (7th Cir. 2008)). It is enough to “simply

give an adequate statement of reasons, consistent with § 3553(a), for thinking” that a sentence

modification is inappropriate. See Shannon, 518 F.3d at 496.


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            B. The § 3553(a) Factors Weigh Against Compassionate Release

        First, the Court acknowledges the particular danger posed by the COVID-19 pandemic to

prisoners, who live in close quarters and often cannot practice social distancing. “But the mere

existence of COVID-19 in society and the possibility that it may spread to a particular prison alone

cannot independently justify compassionate release . . . .” United States v. Raia, 954 F.3d 594, 597

(3d Cir. 2020). The Bureau of Prisons (“BOP”) is in the best position to know which inmates are

most susceptible to infection and whether they still pose a public-safety risk. And since

March 2020, BOP has released over 7,000 inmates that it has identified as “suitable for home

confinement.” Coronavirus, BOP (last visited Nov. 6, 2020), https://www.bop.gov/coronavirus/.

Although not bound by any BOP determination, the Court gives BOP some deference in this area

“considering [its] statutory role, and its extensive professional efforts to curtail the virus’s spread.”

Raia, 954 F.3d at 597.

        With that in mind, the § 3553(a) factors weigh against a sentence modification here.

Westley was convicted just two years ago of a reprehensible offense, the seriousness of which “is

not in question.” (Def.’s Supp. Brief at 14). Although he argues that his “continued incarceration

is not necessary to promote respect for the law, provide deterrence or protect the public,” he

provides no support for that assertion aside from managing not to commit further crimes in the

short time of his incarceration. (Id.). Indeed, the fact that Westley has capitalized on the

educational programing at FCI Forrest City Low, (id. at 13), is another reason to deny his request

for early release, as incarceration is likely the most effective way for him to obtain “needed

educational or vocational training, medical care, or other correctional treatment,” § 3553(a)(2)(d).

The public also has a countervailing interest in ensuring that Westley (and others) are deterred

from, and receive just punishment for, promoting the sexual exploitation of children. Moreover,




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 Westley’s attempt to characterize his 60-month sentence as “a punishment of severe illness or even

 death” ignores that fact that COVID-19 immunity may exist for up to seven months post-infection.

 See Stacy Kuebelbeck Paulsen, Studies Show Long-Term COVID-19 Immune Response, Ctr. for

 Infectious Disease Rsch. & Pol’y (Oct. 26, 2020). 3 Regardless, there are no conditions of early

 release that would guarantee the safety of the community, especially since home confinement and

 location monitoring would do little protect the public from someone that commits crime over the

 Internet.

III.       CONCLUSION

           The Court DENIES Defendant Vincent L. Westley’s Motion for Compassionate Release.

           IT IS SO ORDERED.

 Dated: Friday, November 6, 2020
                                                             S/J. Phil Gilbert
                                                             J. PHIL GILBERT
                                                             UNITED STATES DISTRICT JUDGE




 3
     Available at https://www.cidrap.umn.edu/news-perspective/2020/10/studies-show-long-term-covid-19-immune-
     response.


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